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                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I

  UNITED STATES OF AMERICA,                     Case No. 14-cr-00577-DKW

               Plaintiff,                       SECOND ORDER DENYING
                                                DEFENDANT’S MOTION FOR
        vs.                                     COMPASSIONATE RELEASE

  PATRICIA ARUDA,

               Defendant.


       Before the Court is Defendant Patricia Aruda’s motion for compassionate

 release, remanded for this Court’s further consideration in light of United States v.

 Aruda, 993 F.3d 797 (9th Cir. 2021). Aruda argues that her health conditions, in

 light of the COVID-19 pandemic, present an extraordinary and compelling reason

 warranting her immediate release. Based on the updated record before it, the Court

 disagrees, and, for the reasons articulated below, her motion is again DENIED.

                             RELEVANT BACKGROUND

       On June 17, 2020, Aruda filed an emergency motion for sentence reduction

 pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (compassionate release motion). Dkt. No.

 155. In it, she argues that her medical conditions—obesity, high cholesterol,

 anxiety, depression, and pre-cancerous skin lesions requiring topical

 chemotherapy—put her at an increased “risk of serious illness or death should she

 contract COVID-19.” Dkt. No. 155-1 at 1, 3–7. After briefing, see Dkt. Nos. 159,
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 160, the Court denied Aruda’s motion on July 17, 2020. Dkt. No. 164. The Court

 found that, given her obesity and the high number of inmates at Aruda’s facility of

 incarceration then infected with COVID-19, she had presented an extraordinary

 and compelling reason warranting release. Id. at 11–17. However, the Court

 found that the sentencing factors at 18 U.S.C. Section 3553(a) counseled against

 her release, as did the continued danger she presented to the community. Id. at 17–

 23.

        On April 8, 2021, the Ninth Circuit vacated the Court’s decision and

 remanded for renewed consideration of Aruda’s Section 3582 motion. Aruda, 993

 F.3d at 797. According to the Circuit, this Court erred in holding that the

 Sentencing Commission’s definition of “extraordinary and compelling” reasons

 warranting a sentence reduction, see U.S.S.G. § 1B1.13 n.1, was binding on this

 Court where, as here, a defendant1 directly brings a compassionate release motion.

 Aruda, 993 F.3d at 799–802. The Circuit held that where a defendant brings the

 motion, the Court is not bound by the Commission’s definition of extraordinary

 and compelling, though that definition “may inform [the Court’s] discretion” in

 deciding such a motion. Id. at 802.




 1
  The Commission’s definition of “extraordinary and compelling” is still binding on the Court
 where the Director of the Bureau of Prisons, rather than the defendant, brings the compassionate
 release motion. See Aruda, 993 F.3d at 799-802.

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       In its remand order, the Circuit instructed the Court “to consider Aruda's

 new allegation that she has since contracted and recovered from COVID-19.” Id.

 Accordingly, the Court requested supplemental briefing. Dkt. Nos. 173, 182.

 Having now received that briefing, see Dkt. Nos. 174, 175, 183, this order follows.

                               LEGAL STANDARD

       “‘[A] judgment of conviction that includes [a sentence of imprisonment]

 constitutes a final judgment’ and may not be modified by a district court except in

 limited circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010)

 (alterations in original) (quoting 18 U.S.C. § 3582(b)). Such circumstances must

 be “expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal

 Procedure.” See 18 U.S.C. § 3582(c)(1)(B); see also Dillon, 560 U.S. at 827, 831;

 United States v. Penna, 319 F.3d 509, 511 (9th Cir. 2003).

       Congress carved out one such circumstance in 18 U.S.C. § 3582(c)(1)(A)(i).

 A court may “modify a term of imprisonment” upon an inmate’s motion if:

       1. the inmate exhausted “all administrative rights to appeal a failure of the
          Bureau of Prisons to bring a motion” on her behalf or 30 days has lapsed
          since the relevant warden received a request to do so;

       2. the inmate has established that “extraordinary and compelling reasons
          warrant such a reduction”; and

       3. the court considers the sentencing factors set forth in 18 U.S.C. §3553(a).

 18 U.S.C. § 3582(c)(1)(A)(i). The inmate bears the burden of establishing the

 requirements for a sentence reduction by a preponderance. See, e.g., United States

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 v. Sprague, 135 F.3d 1301, 1306–07 (9th Cir. 1998); see also Walton v. Arizona,

 497 U.S. 639, 650 (1990) (a defendant’s due process rights “are not violated by

 placing on him the burden of proving mitigating circumstances sufficiently

 substantial to call for leniency”), overruled on other grounds by Ring v. Arizona,

 536 U.S. 584, 609 (2002).

                                   DISCUSSION

       Aruda argues that her medical conditions—obesity, heart and respiratory

 complications from COVID-19, risk of diabetes, hyperlipidemia, “unspecified hip

 and knee pain,” limited mobility, and uterine and vaginal bleeding—continue to

 place her at risk of a severe reaction to COVID-19. Dkt. No. 174 at 2–6. She also

 appears to argue that these worsening health conditions themselves warrant a

 sentence reduction. Dkt. No. 183 at 6 (“The BOP’s inability to effectively manage

 Aruda’s health care . . . also justifies release.”). The Government disagrees,

 arguing compassionate release is not warranted because Aruda is fully vaccinated

 against COVID-19—as are roughly 70 percent of the inmates in Aruda’s facility—

 she did not have a severe reaction when she was previously infected, and she is

 receiving appropriate medical care for her chronic and acute medical issues. Dkt.

 No. 175 at 1–4. For the reasons articulated below, the Court finds that Aruda has

 failed to present an extraordinary and compelling reason warranting compassionate

 release.


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        Section 3582(c)(1)(A)(i) permits a sentence reduction only upon a showing

 of “extraordinary and compelling reasons.” While Congress has not defined

 “extraordinary and compelling reasons” warranting compassionate release, the

 Sentencing Commission has. See U.S.S.G. § 1B1.13. As discussed above, that

 definition is binding only as to compassionate release motions brought by the

 Director of the Bureau of Prisons, not where, as here, such motions are brought

 directly by a defendant. Aruda, 993 F.3d at 797. Yet, while the Sentencing

 Commission’s definition is not binding in the circumstance presented here, it

 nonetheless “may inform a district court's discretion for [Section] 3582(c)(1)(A)

 motions filed by a defendant.” Id. at 802. The Court only recently described the

 circumstances when its discretion may be exercised in favor of a Section 3582

 movant:

        [W]here an inmate is seeking compassionate release due to a potential
        reaction to a communicable disease, such as COVID-19, [the inmate]
        must usually demonstrate that the potential to be infected is high, [the
        inmate] is at risk of a severe reaction if infected, and should [the
        inmate] become infected, [he or she] will suffer significant short- or
        long-term harm or death. Because the remedy sought—years off a
        sentence for a felony conviction—is extraordinary, the circumstances
        warranting that remedy must be likewise extraordinary (and
        compelling).2

 2
  Aruda argues this standard does not reflect a “totality of the circumstances” approach to
 deciding her motion. Dkt. No. 174 at 9 n.14; see also Dkt. No. 183 at 4 n. 4. The Court does not
 see why. The Court has considered the totality of the circumstances—that is, all relevant
 medical and other data and information presented by both sides—in determining the actual risk
 COVID-19 poses to Aruda and whether that risk rises to the level of an extraordinary and
 compelling reason warranting her immediate release. Were Aruda’s motion brought on different
 grounds, of course, the “totality of the circumstances” may include different or additional

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 United States v. Blumenstein, 2021 WL 1655823, at *4 (D. Haw. April 27, 2021);

 accord United States v. Kauwe, 467 F. Supp. 3d 940, 946 (D. Nev. 2020)

 (considering whether: “(1) the combination of [the defendant’s] age and underlying

 health conditions elevate his risk of becoming seriously ill were he to contract

 COVID-19 . . . and (2) he faces greater risk from COVID-19 if he continues to be

 housed at his current facility instead of being released”).

        The Court recognizes that Aruda still suffers from obesity, see Dkt. No. 274-

 2 at 1, which is recognized by the CDC as placing her at an increased risk of a

 severe reaction should she contract COVID-19.3 Likewise, the Court recognizes

 that, while Aruda may not have had a severe reaction to COVID-19 when she was

 infected in 2020, see Dkt. No. 174-2 at 234, she may be suffering from what is

 called “long COVID,” a condition whereby a person suffers lingering symptoms

 from a prior bout of COVID-19.4 But these facts are far outweighed by several

 others. Most significantly, Aruda has been fully vaccinated against the virus,



 information. But Aruda does not articulate what “circumstances” the Court has failed to
 consider in the “totality” approach she urges, at least insofar as the grounds upon which her
 motion was brought is concerned.
 3
   People at Increased Risk: People with Certain Medical Conditions, CDC (last updated May 13,
 2021), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
 medical-conditions.html (last visited June 8, 2021).
 4
   Post-COVID Conditions, CDC, (last updated Apr. 8, 2021),
 https://www.cdc.gov/coronavirus/2019-ncov/long-term-effects.html (last visited June 8, 2021).
 Following her COVID-19 infection, Aruda appears to have suffered chest pains and shortness of
 breath, two symptoms identified by the CDC as occurring in patients suffering from long
 COVID. Dkt. No. 174 at 2–3 (cataloguing such incidents).

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 receiving two doses of the Pfizer-BioNtech vaccine. Id. at 276. She is not alone.

 BOP reports that over 1000 of the roughly 1400 inmates at FMC Carswell, where

 Aruda is housed, are vaccinated against the virus.5 Whether due to this vaccination

 effort or otherwise, COVID-19 infections at Aruda’s facility are virtually

 nonexistent. As of this order, BOP reports just three inmates and zero staff as

 currently infected.6 This is a drastic reduction of cases from when the Court

 initially decided Aruda’s motion; at that time, there were 190 inmates and three

 staff infected. Dkt. No. 164 at 15.

        Given the infection and vaccination rates at Aruda’s facility, her chances of

 being among those rarely reinfected7 with COVID-19 are extremely low.8 And

 now that she has been vaccinated, even accounting for her obesity and other

 ailments, her chances of having a severe reaction to the virus is likewise extremely

 low.9 In short, in considering Aruda’s health conditions alone or in light of the


 5
   COVID-19 Coronavirus: COVID-19 Cases, BOP, https://www.bop.gov/coronavirus/ (last
 visited June 8, 2021).
 6
   COVID-19 Coronavirus: COVID-19 Cases, BOP, https://www.bop.gov/coronavirus/ (last
 visited June 8, 2021).
 7
   Reinfection with COVID-19, CDC, (last updated Oct. 27, 2020),
 https://www.cdc.gov/coronavirus/2019-ncov/your-health/reinfection.html (last visited June 8,
 2021).
 8
   Pfizer-BioNTech COVID-19 Vaccine Emergency Use Authorization Review Memorandum,
 FDA, https://www.fda.gov/media/144416/download (last visited June 8, 2021) (explaining that
 the vaccine was 95% effective in preventing COVID-19).
 9
   A test conducted by Pfizer and BioNTech found that the vaccine was 100% effective in
 preventing severe disease as defined by the U.S. Centers for Disease Control and Prevention and
 95.3% effective in preventing severe disease as defined by the U.S. Food and Drug
 Administration. Pfizer and BioNTech Confirm High Efficacy and No Serious Safety Concerns
 Through Up to Six Months Following Second Dose in Updated Topline Analysis of Landmark

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 COVID-19 pandemic, she has failed to present an extraordinary and compelling

 reason warranting the compassionate release she seeks.

        Considering the circumstances presented, together with the Section 3553(a)

 sentencing factors, the outcome is no different. See Dkt. No. 155-1 at 12–15; Dkt.

 No. 183 at 7–10. It is commendable that Aruda has engaged in rehabilitative

 prison programming. See Dkt. No. 155-1 at 12–14; Dkt. No. 183 at 8–9. And the

 Court acknowledges that Aruda currently suffers from health complications not

 present at sentencing. Dkt. No. 183 at 9. However, given her current health

 conditions, the care she is receiving at FMC Carswell, a medical facility, and the

 extremely low risk presented to her from COVID-19, as described above, the Court

 finds she is not entitled to relief.

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 COVID-19 Vaccine Study, Pfizer (last updated April 1, 2021),
 https://www.pfizer.com/news/press-release/press-release-detail/pfizer-and-biontech-confirm-
 high-efficacy-and-no-serious (last visited June 8, 2021).

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                                 CONCLUSION

       For the reasons set forth herein, Aruda’s motion for compassionate release,

 Dkt. No. 155, is DENIED.

       IT IS SO ORDERED.

       DATED: June 8, 2021 at Honolulu, Hawai‘i.




                                             D~
                                             United States District Judg~




  United States v. Aruda, Criminal No. 14-00577-DKW; SECOND ORDER
  DENYING DEFENDANT’S MOTION FOR COMPASSIONATE
  RELEASE.

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